     Case: 2:15-cr-00235-MHW Doc #: 258 Filed: 11/07/16 Page: 1 of 16 PAGEID #: 674
                                                                                 1
1                             UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
2                                   EASTERN DIVISION

3      UNITED STATES OF AMERICA,)
                                )
4        PLAINTIFF,             )             CASE NO. 2:15-CR-235-1
                                )
5               vs.             )
                                )
6      MARK A. EUBANKS,         )
                                )
7        DEFENDANT.             )
       __________________________
                                )
8

9                     REDACTED {PER INSTRUCTION OF THE COURT}
                    TRANSCRIPT OF PROCEEDINGS OF CHANGE OF PLEA
10                     BEFORE THE HONORABLE MICHAEL H.WATSON
                      WEDNESDAY, FEBRUARY 17, 2016; 3:00 P.M.
11                                 COLUMBUS, OHIO

12

13         FOR THE PLAINTIFF:
                US ATTORNEY'S OFFICE
14              By: MICHAEL J. HUNTER, ESQ.
                303 MARCONI BOULEVARD, 2ND FLOOR
15              COLUMBUS, OH 43215

16

17         FOR THE DEFENDANT:

18               By: KEITH A. YEAZEL, ESQ.
                 905 SOUTH HIGH STREET
19               COLUMBUS, OH 43206

20                                          - - -

21          Proceedings recorded by mechanical stenography, transcript
        produced by computer.
22

23                                 GEORGINA L. WELLS
                            FEDERAL OFFICIAL COURT REPORTER
24                          85 MARCONI BOULEVARD, ROOM 121
                                 COLUMBUS, OHIO 43215
25
     Case: 2:15-cr-00235-MHW Doc #: 258 Filed: 11/07/16 Page: 2 of 16 PAGEID #: 675
                                                                                  2
1                                    Wednesday Afternoon Session,

2                                    February 17, 2016.

3                                           - - -

4                   COURTROOM DEPUTY CLERK:         This is Case Number

5       2:15-cr-235, Defendant Number 1, the United States of America

6       v. Mark Eubanks.       Counsel, please enter your appearances.

7                   MR. HUNTER:     Good afternoon, Your Honor.         Michael

8       Hunter on behalf of the United States.

9                   MR. YEAZEL:     Keith Yeazel on behalf of

10      Mr. Eubanks, who is present in the courtroom.

11               Good afternoon, Your Honor.

12                  THE COURT:     Good afternoon.      Mr. Eubanks, good

13      afternoon to you.

14                  THE DEFENDANT:      Good afternoon, Your Honor.

15                  THE COURT:     To the extent that you are able to with

16      handcuffs on, raise your right hand and be sworn, please.

17               (THEREUPON, the defendant is sworn in.)

18                  THE COURT:     State your full name for the record.

19                  THE DEFENDANT:      Mark Anthony Eubanks.

20                  THE COURT:     The purpose of placing you under oath is

21      to apprize you that you are in a federal courtroom under oath,

22      and I expect you to tell me the truth.            If you say something

23      today that turns out not to be the complete truth, you might

24      face additional charges for perjury or making a false

25      statement; do you understand that?
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                                                                                 3
1                   THE DEFENDANT:      Yes, Your Honor.

2                   THE COURT:     Go ahead and be seated.        How old are you,

3       sir?

4                   THE DEFENDANT:      Thirty-four years old.

5                   THE COURT:     What is your educational background?

6                   THE DEFENDANT:      I have Bachelor's degree in trade

7       school.

8                   THE COURT:     A citizen of the United States?

9                   THE DEFENDANT:      Yes, Your Honor.

10                  THE COURT:     You are charged with a pretty serious

11      crime here.

12               Is this the 10 to life version, Michael?

13                  MR. HUNTER:     Yes, Your Honor.

14                  THE COURT:     Conspiracy to possess with intent to

15      distribute one kilo or more of heroin, a Schedule I controlled

16      substance, in violation of 21 U.S.C., Sections 841(a)(1) and

17      (b)(1)(A)(i) as well as 21 U.S.C. 846, a statutory penalty,

18      mandatory minimum of 10 up to life, up to a $10 million fine,

19      five years to life of supervised release, a $100 special

20      assessment.      Those are the statutory penalties.           You are aware

21      of that, correct?

22                  THE DEFENDANT:      Yes, Your Honor.

23                  THE COURT:     All right.     You have had an opportunity to

24      discuss these charges and any defenses you would have to these

25      charges with Mr. Yeazel; is that true?
     Case: 2:15-cr-00235-MHW Doc #: 258 Filed: 11/07/16 Page: 4 of 16 PAGEID #: 677
                                                                                 4
1                   THE DEFENDANT:      Yes, Your Honor.

2                   THE COURT:     And you have previously entered a not

3       guilty plea at arraignment on this charge, correct?

4                   THE DEFENDANT:      Correct.

5                   THE COURT:     And today you are here to change your

6       previously entered not guilty plea and to plead guilty; is that

7       right?

8                   THE DEFENDANT:      Yes, Your Honor.

9                   The Court:     As you sit here today, are you under the

10      influence of any drugs of abuse or alcohol?

11                  THE DEFENDANT:      No, Your Honor.

12                  THE COURT:     All right.     Are you seeing anyone for a

13      mental health issue?

14                  THE DEFENDANT:      No, Your Honor.

15                  THE COURT:     Are you taking any prescription

16      medications for any reason?

17                  THE DEFENDANT:      No Your Honor.

18                  THE COURT:     All right.     Mr. Yeazel, have you had any

19      difficulty communicating with your client?

20                  MR. YEAZEL:     No, Your Honor.

21                  THE COURT:     You believe he has understood all your of

22      counseling and advice?

23                  MR. YEAZEL:     Yes, Your Honor.

24                  THE COURT:     All right.     Very good.     Michael, would you

25      like to outline the plea agreement for us?
     Case: 2:15-cr-00235-MHW Doc #: 258 Filed: 11/07/16 Page: 5 of 16 PAGEID #: 678
                                                                                 5
1                   MR. HUNTER:     Thank you, Your Honor.        In the plea

2       agreement filed with the Court, Mr. Eubanks agreed to plead

3       guilty to Count 1 of the Indictment, that charges conspiracy to

4       possess with intent to distribute more than one kilogram of

5       heroin.     He acknowledges the penalties that may be imposed are

6       a mandatory minimum term of imprisonment of 10 years up to

7       life, a fine up to $10 million, a term of supervised release of

8       five years up to life.

9                He also acknowledges that due to the Information that

10      was filed in this case pursuant to 21 United States Code,

11      Section 851, that his sentence will be enhanced for that

12      conviction as set forth in 21 United States Code, Section

13      841(b).     The parties also agree -- and we want to put this on

14      the record -- that the Information that was filed pursuant to

15      Section 851 constitutes a single conviction for purposes of

16      that sentencing enhancement.          There is more than one narcotics

17      conviction in this case.         The government is only relying on

18      one, Your Honor.

19                  THE COURT:     Very good.

20                  MR. HUNTER:     The parties acknowledge that if this plea

21      of guilty is entered and not withdrawn and Mr. Eubanks acts in

22      accordance with the terms of the plea agreement, the United

23      States agrees not to file additional charges against

24      Mr. Eubanks.

25               Mr. Eubanks also acknowledges that prior to the time of
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                                                                   6
1       sentencing, he will required to pay a $100 special assessment.

2                He also acknowledges that by virtue of pleading guilty

3       to Count 1, he is not the prevailing party as defined by

4       federal law, and he waives his right to sue the United States

5       under this agreement.

6                Mr. Eubanks also agrees to forfeit all right, title and

7       interest to the property contained in the consent form which

8       was attached as Exhibit A to the plea agreement.               That,

9       basically, contains firearms, ammunition and currency seized

10      during the investigation of this case.            He also agrees to

11      execute the consent order at the time that he enters the guilty

12      plea.    I believe we have already executed that and filed it, or

13      if we haven't, we will soon, Your Honor.             The defendant agrees

14      not to contest any judicial or administrative forfeiture as set

15      forth in the consent order.

16               Mr. Eubanks acknowledges under this agreement, it does

17      not protect him from a prosecution for perjury if he were to

18      testify untruthfully or other crimes or offenses that the

19      United States discovers by independent investigation.

20               He also acknowledges that if he fails to fully comply

21      with the terms of the agreement, it is voidable and subject to

22      prosecution as though the agreement had never been made.

23               The parties agree to make several recommendations to the

24      Court regarding application of the sentencing guidelines.

25      These are contained in Paragraph 8 of the plea agreement.
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                                                                                 7
1                Specifically, the United States agrees that if the

2       defendant continues to accept responsibility, essentially, he

3       will be entitled to a three-level reduction in his offense

4       level.    The United States also agrees not to seek any upward

5       departure or deviation or variance from the advisory guideline

6       range as determined by the Probation Department, and all

7       parties acknowledge these are simply recommendations and in no

8       way bind the District Court.

9                Mr. Eubanks further acknowledges that the U.S.

10      Sentencing Guidelines are no longer mandatory, that they are

11      advisory, and the Court has the jurisdiction and authority to

12      impose any sentence up to the statutory maximum.

13               Mr. Eubanks also acknowledges that the Court has not yet

14      determined a sentence, and so any estimate of a probable

15      sentencing range he may have received is a prediction and not a

16      promise, is not binding on the United States, the Probation

17      Department or the Court.

18               In this agreement, the United States expressly makes no

19      promise or representation concerning the sentence the defendant

20      will receive, and he acknowledges he cannot withdraw his guilty

21      plea based upon the actual sentence in this case.

22               The parties further agree if the Court refuses to accept

23      any provisions of the plea agreement, other than those

24      recommendations mentioned in Paragraph 8, neither party will be

25      bound by it and Mr. Eubanks can withdraw his guilty plea, and
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                                                                                 8
1       in turn, the U.S. Attorney's office can proceed with

2       prosecution without prejudice.

3                There are no additional promises or agreements or

4       conditions in this case, although I think counsel should

5       approach briefly.

6                   THE COURT:     Very good.

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8            Thereupon, the following proceeding was held at sidebar:

9                   MR. HUNTER:

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18                  THE COURT:

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20                  MR. YEAZEL:

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22                  THE COURT:

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24                  MR. HUNTER:

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     Case: 2:15-cr-00235-MHW Doc #: 258 Filed: 11/07/16 Page: 9 of 16 PAGEID #: 682
                                                                                 9
1                   MR. YEAZEL:

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3                   THE COURT:

4                   MR. YEAZEL:

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7                   THE COURT:

8                   MR. YEAZEL:

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15                  MR. HUNTER:

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17                  MR. YEAZEL:

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19                  THE COURT:

20                  MR. YEAZEL:

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22                  THE COURT:

23                                          - - -

24           Thereupon, the following proceedings were had in open

25      court:
 Case: 2:15-cr-00235-MHW Doc #: 258 Filed: 11/07/16 Page: 10 of 16 PAGEID #: 683
                                                                             10
1               MR. HUNTER:     Your Honor, for the record, for the

2    statement of facts, the United States has provided a copy to

3    the Court.     I believe the defense has made a couple of

4    corrections to it, but we propose to mark that as an exhibit

5    and attach it to the record in the case.

6               THE COURT:     Very well.     Do you agree to the

7    stipulation?

8               MR. YEAZEL:     We agree to the stipulation, Your Honor.

9               THE COURT:     Very good.     The statement of facts will be

10   appended as Exhibit A to the plea agreement.

11            Mr. Eubanks, you read the 11-paragraph plea agreement

12   before you signed it?

13              THE DEFENDANT:      Yes, Your Honor.

14              THE COURT:     You had the opportunity to discuss any

15   defenses that you would have as well as the terms of this plea

16   agreement with Mr. Yeazel, correct?

17              THE DEFENDANT:      That's correct, Your Honor.

18              THE COURT:     You have read the statement of facts that

19   we have made two adjustments to here?

20              THE DEFENDANT:      Yes, Your Honor.

21              THE COURT:     And you would otherwise agree with the

22   statement of facts?

23              THE DEFENDANT:      That's correct.

24              THE COURT:     Did you sign this plea agreement on the

25   5th of February, 2016?
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                                                                             11
1               THE DEFENDANT:      Yes, Your Honor.

2               THE COURT:     All right.     At the time you signed it, you

3    thoroughly understood it?

4               THE DEFENDANT:      Correct, Your Honor.

5               THE COURT:     Has anyone threatened you in any way, or

6    do you feel coerced in any way to enter into this guilty plea?

7               THE DEFENDANT:      No, Your Honor.

8               THE COURT:     I need to make sure you are entering into

9    this guilty plea of your own free will and volition; is that

10   accurate?

11              THE DEFENDANT:      Yes, Your Honor.

12              THE COURT:     Okay.    The sentencing guidelines are

13   advisory.     I will consider them because I must consider them,

14   but I don't have to follow them.          Do you understand that?

15              THE DEFENDANT:      Yes, Your Honor.

16              THE COURT:     Supervised release would be a period of

17   post-incarceration supervision by the Court's Probation

18   Department.     There are standard conditions that everyone on

19   supervised release must follow.          There may be some special

20   additional conditions that would apply to you because of the

21   nature of the offense.        If you violate supervised release, one

22   of the options is to have you brought back before the Court to

23   answer to the violations, and if you wish to challenge the

24   violations, you are entitled to put witnesses on and have the

25   government prove that you violated them.            But if it is proven
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                                                               12
1    that you violated them, then one of the things that I can do is

2    revoke and I can send you back to prison and not order any

3    credit for time previously served on supervised release as well

4    as adding on a new term of supervised release.              Do you

5    understand that?

6               THE DEFENDANT:      Yes, Your Honor.

7               THE COURT:     You understand at this point, even now,

8    you have the right to plead not guilty and persist in that not

9    guilty plea?

10              THE DEFENDANT:      Yes, your Honor.

11              THE COURT:     If you were to do so, you would have the

12   right to a jury trial; do you understand that?

13              THE DEFENDANT:      Yes, Your Honor.

14              THE COURT:     At every stage of the proceedings, you

15   have the right to be represented by counsel.             And you have no

16   burden of proof.      Instead, the government has the entire burden

17   to prove each and every one of the following elements beyond a

18   reasonable doubt.       So, in order to convict you at trial, the

19   government would have to prove that Mark A. Eubanks agreed with

20   at least one other person to possess with the intent to

21   distribute more than one kilo of heroin, a Schedule I

22   controlled substance.        They would have to prove that the

23   conspiracy that's described in this indictment was willfully

24   formed and existed at or about the dates and times alleged.

25   They would have to prove Mark A. Eubanks willfully became a
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                                                                      13
1    member of the conspiracy.         And they would have to prove that an

2    act or your actions were in furtherance of this conspiracy that

3    occurred on or about the dates stated in the indictment in the

4    Southern District of Ohio, which is the federal jurisdiction of

5    this Court.

6             Do you understand that?

7               THE DEFENDANT:      Yes, Your Honor.

8               THE COURT:     Through counsel, you have right to

9    confront and cross-examine the government's witnesses that

10   would be called to testify against you.            You have a Fifth

11   Amendment right to remain silent at trial.             And if you elect to

12   do so, the government would still put on its evidence.

13   However, they couldn't get up at the end of the case and argue

14   to the jury that your silence was evidence of guilt.               Do you

15   understand that?

16              THE DEFENDANT:      Yes, Your Honor.

17              THE COURT:     If you wish to put on your own witnesses

18   in your defense, you would have the right to subpoena those

19   witnesses and have the Court enforce those subpoenas and to

20   have your witnesses delivered to court.            Do you understand

21   that?

22              THE DEFENDANT:      Yes, Your Honor.

23              THE COURT:     Do you understand before I can accept your

24   guilty plea, you have got to waive or give up all of the rights

25   that I just told you about?
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                                                                             14
1               THE DEFENDANT:      Yes, Your Honor.

2               THE COURT:     Is that you want to do at this time?

3               THE DEFENDANT:      Yes, Your Honor.

4               THE COURT:     How do you plead to this conspiracy

5    charge?

6               THE DEFENDANT:      Guilty.

7               THE COURT:     Based upon a review of the statement of

8    facts and based upon your answers here today, you appear to be

9    alert and oriented times three.          The statement of facts meets

10   each of the essential elements that the government must prove

11   beyond a reasonable doubt.

12            The Court will order a Presentence Investigation.              You

13   will be back in court probably ten to 12 weeks from now for

14   sentencing.     But in the meantime, you and Mr. Yeazel will have

15   an opportunity to meet with a Probation Officer who is going to

16   write the report.       You will provide the background answers and

17   information that they are looking for.            If there are objections

18   to be raised, Mr. Yeazel will raise them on your behalf.                If

19   they remain at sentencing, I will deal with them on the day of

20   sentencing.     Do you understand?

21              THE DEFENDANT:      Yes, Your Honor.

22              THE COURT:     Any questions?

23              THE DEFENDANT:      No, Your Honor.

24              THE COURT:     Okay.    The Court is going to accept the

25   guilty plea.     Find that it is a knowing, intelligent and
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                                                               15
1    voluntary plea supported by an independent basis in fact that

2    contains each of the essential elements of the offense.                You

3    are now adjudged guilty of this federal felony, and the Court

4    orders the Presentence Investigation.            We will see you in about

5    two-and-a-half or three months, all right?

6               THE DEFENDANT:      Yes, Your Honor.

7               COURTROOM DEPUTY CLERK:         All rise.    We are adjourned.

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                                                                             16
1                              C E R T I F I C A T E

2

3               I, Georgina Wells, do hereby certify that the

4    foregoing is a true and correct transcript of the proceedings

5    before the Honorable Michael H. Watson, Judge, in the United

6    States District Court, Southern District of Ohio, Eastern

7    Division, on the date indicated, reported by me in shorthand

8    and transcribed by me or under my supervision.

9

10

11                                  s/Georgina Wells

12

13                                  Georgina Wells,
                                    Official Federal Court Reporter
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